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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

  KIERAN RAVI BHATTACHARYA,                       )       Civil Action No. 3:19-cv-00054
       Plaintiff,                                 )
                                                  )
  v.                                              )       ORDER
                                                  )
  JAMES B. MURRAY, et al.,                        )
       Defendants.                                )       By:     Joel C. Hoppe
                                                  )               United States Magistrate Judge

          This matter is before the Court on the University of Virginia (“UVA”) Defendants four

  motions to quash Plaintiff’s third-party subpoenas duces tecum directed to AT&T, Level 3

  Communications, and Verizon Wireless, ECF Nos. 360, 386, 402, 412, and nonparty Angel Hsu,

  M.D.’s (“Dr. Hsu”) motion to quash Plaintiff’s subpoena duces tecum to Verizon Wireless, ECF

  No. 406. All five motions have been fully briefed and argued. ECF Nos. 394, 398, 403, 411, 414,

  419, 420, 421, 423, 425, 450.

          As drafted, each challenged subpoena sought “all records,” from specified periods, for

  the unique telephone number(s) listed therein, “including, but not limited to, any and all text

  messages, call logs, text message logs, recordings, and phone messages of any kind.” 1 In

  response to these motions, Plaintiff narrowed each subpoena’s request for production to include

  only metadata (e.g., date and time initiated, connection duration, recipient phone number) in call



  1
    See ECF No. 360-1 (directing AT&T to produce, “[f]rom October 1, 2018 to the present, all records” for
  the phone numbers ending in -6424, -8406, and -1278); ECF No. 386-1 (directing Level 3 to produce,
  “[f]rom October 1, 2018 to the present,” all records for the phone numbers ending in -8835, -7166, -0000,
  -2522, and -2497, and “[f]rom November 1, 2018 to November 30, 2018, all records” for the number
  ending in -5569); ECF No. 402-1 (directing AT&T to produce, “[f]rom October 1, 2018 to the present, all
  records” for the phone number ending in -3457); ECF No. 406 (representing that the subpoena directed
  Verizon to produce all such records, “from August 1, 2016 through September 20, 2017,” for the phone
  number ending in -0602, which was Dr. Hsu’s prior cell phone number, and “from September 20, 2017
  through the present” for the number ending in -0335, which is her current cell phone number); ECF No.
  412-1 (directing Verizon to produce, from two or more specified periods, “all records” for the phone
  numbers ending in -5785, -0349, -0091, and -0616).

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  logs and text messages logs—specifically excluding the content of any text or voice messages—

  associated with the identified phone numbers. See generally ECF Nos. 394, 403, 414, 420, 421.

  He also waived his request for the AT&T phone number ending in -8406, ECF No. 394, at 7, and

  to shorten the timeframes at issue in certain requests, ECF No. 394, at 5–6; ECF No. 403, at 8–

  12; ECF No. 414, at 12; ECF No. 421, at 6–7.

         On June 17, 2022, I held a hearing at which counsel for Plaintiff, the UVA Defendants,

  and Dr. Hsu addressed the challenged requests, as modified by Plaintiff’s response briefs. ECF

  No. 450. This Order memorializes my rulings from the bench and further explains my rationale

  for modifying each subpoena to bring it within “the scope [of discovery] permitted by Rule

  26(b)(1),” Fed. R. Civ. P. 26(b)(2)(C)(iii). See generally In re Verizon Wireless, 2019 WL

  4415538, at *6–7 (D. Md. Sept. 16, 2019) (concluding that movants did not have standing to

  challenge third-party subpoena under Rule 45, but relying on Rule 26(b)(2)(C)(iii) to quash

  overly broad subpoena for cell phone records insofar as the request did “not satisfy the [Rule’s]

  proportionality concerns as the ‘proposed discovery outweigh[ed] its likely benefit’” (quoting

  Fed. R. Civ. P. 26(b)(1)). For the reasons stated on the record during the hearing, it is hereby

  ORDERED that:

         1. The UVA Defendants’ Motion to Quash Subpoena Duces Tecum to AT&T, ECF No.

  360, is GRANTED in part with respect to the phone numbers ending in -6424 (Reed) and -1278

  (Enoch) and DENIED as moot with respect to the number ending in -8406 (Keeley).

         As modified, Plaintiff’s subpoena to AT&T seeks metadata for all calls and text messages

  originating from or received by Reed’s (-6424) and Enoch’s (-1278) personal cell phone

  numbers between: (i) November 18, 2018, to December 3, 2018; (ii) December 27, 2018, to

  January 8, 2019; (iii) January 13–19, 2019; and (iv) January 25, 2019, to February 3, 2019. ECF



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  No. 394, at 5–7. Even assuming that this data—which would establish only the fact of an

  incoming/outgoing call or text message during these timeframes—is relevant to Plaintiff’s sole

  remaining claim or the defenses thereto, the UVA Defendants have shown that the proposed

  discovery is not proportional to the needs of the case considering the parties’ relative access to

  other, more probative information, the data’s minimal importance in resolving the issues, and the

  burden or expense of the proposed discovery outweighs its likely negligible benefit, Fed. R. Civ.

  P. 26(b)(1). See In re Verizon Wireless, 2019 WL 4415538, at *6–7 (citing Fed. R. Civ. P.

  26(b)(2)(C)(iii)). Plaintiff’s request with respect to the AT&T cell phone number ending in -8406

  (Keeley) is deemed withdrawn. ECF No. 394, at 7.

         2. The UVA Defendants’ Motion to Quash Subpoena Duces Tecum to Level 3

  Communications, ECF No. 386, is GRANTED with respect to the University-affiliated phone

  numbers ending in -7166 (UVA Police Department main landline), -0000 (“Dean on Call”), -

  2522 (Canterbury), -2497 (Fleming), and -5569 (UVA Health System Unit 5 East), see ECF No.

  386-1, at 8 ¶¶ 2–6, and GRANTED in part with respect to the University-affiliated phone

  number ending in -8835 (Feilding office landline), see id. ¶ 1. Plaintiff’s redacted subpoena to

  Level 3 Communications, ECF No. 386-1, at 8, is hereby MODIFIED to request:

             1. From December 29, 2018, to January 3, 2019, all call logs or text message logs,
                excluding the content of any text or voice messages, for phone number [redacted]-
                8835.

  See Fed. R. Civ. P. 26(b)(2)(C)(iii). As modified, this request seeks information that may show

  Defendant Melissa Feilding used a University-affiliated landline to initiate or receive phone calls

  or text messages in the days before issuing the No Trespass Order, which arguably is relevant to

  the UVA Defendants’ statements about who was involved in the decision to issue the NTO and

  their stated reason(s) why it was issued, see ECF No. 403, at 2–7. Cf. In re Verizon Wireless,

  2019 WL 4415538, at *3, *6 (quashing third-party subpoena that sought “more than three years
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  of call histories” for cell phones issued by county government to police officers, “without

  limiting the scope to the allegations raised” in the operative complaint, because “every

  conceivable phone communication would be in play, from conversations about the need for

  adjusting police manpower and assignments, to efforts to schedule dental appointments,” and any

  “benefit remaining” in obtaining call logs was “no more than residue considering the issues in

  the case”).

          Level 3 Communications is directed to produce any responsive documents directly to

  counsel of record for the UVA Defendants. Counsel shall have seven (7) days from the date they

  receive access to these documents to review them and produce any relevant information to

  Plaintiff’s counsel. See Order of Dec. 20, 2021, at 2, ECF No. 266.

         3. The UVA Defendants’ second Motion to Quash Subpoena Duces Tecum to AT&T,

  ECF No. 402, is GRANTED in part. Plaintiff’s redacted subpoena to AT&T, ECF No. 402-1, at

  8 ¶ 1, is hereby MODIFIED to request:

                1. From December 29, 2018, to January 3, 2019, all call logs or text message logs,
                   excluding the content of any text or voice messages, for phone number [redacted]-
                   3457.

  See Fed. R. Civ. P. 26(b)(2)(C)(iii). As modified, this request seeks information that may show

  Defendant Feilding used her personal cell phone to initiate or receive phone calls or text

  messages in the days before issuing the No Trespass Order, which arguably is relevant to the

  UVA Defendants’ statements about who was involved in the decision to issue the NTO and their

  stated reason(s) why it was issued. Cf. In re Verizon Wireless, 2019 WL 4415538, at *6.

         AT&T is directed to produce any responsive documents directly to counsel of record for

  the UVA Defendants. Counsel shall have seven (7) days from the date they receive access to

  these documents to review them and produce any relevant information to Plaintiff’s counsel. See

  Order of Dec. 20, 2021, at 2.
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         4. The UVA Defendants’ Motion to Quash Subpoena Duces Tecum to Verizon Wireless,

  ECF No. 412 (citing ECF No. 412-1, at 8 ¶¶ 1–5, 8–10), is GRANTED, and the Requests for

  Production in ¶¶ 1–5 and ¶¶ 8–10, ECF No. 412-1 at 8, are STRICKEN. Plaintiff has not shown

  that these Defendants’ personal cell phone data logs, see ECF No. 420, at 2, contain information

  relevant to Plaintiff’s remaining claim or defenses thereto, but even assuming the logs did

  contain relevant information, the UVA Defendants have shown that the proposed discovery is

  not proportional to the needs of this case considering the parties’ relative access to other, more

  probative information, the data’s minimal importance in resolving the issues, and the burden or

  expense of the proposed discovery outweighs its likely negligible benefit, Fed. R. Civ. P.

  26(b)(1). See In re Verizon Wireless, 2019 WL 4415538, at *6 (citing Fed. R. Civ. P.

  26(b)(2)(C)(iii)).

         5. Nonparty Angel Hsu’s Motion to Quash Subpoena Duces Tecum to Verizon Wireless,

  ECF No. 406, seeking information related to Dr. Hsu’s prior and current personal cell phone

  numbers, see ECF No. 412-1, at 8 ¶¶ 6–7, is GRANTED in part. Paragraph 6 in Plaintiff’s

  redacted subpoena to Verizon Wireless, ECF No. 412-1, at 8 ¶ 6 (seeking “[f]rom August 1,

  2016 to September 20, 2017, all records for phone number [redacted]-0602”), is STRICKEN as

  overly broad. See In re Verizon Wireless, 2019 WL 4415538, at *6 (citing Fed. R. Civ. P.

  26(b)(2)(C)(iii)).

         Paragraph 7, ECF No. 412-1, at 8 ¶ 7 (seeking “[f]rom September 20, 2017 to the present,

  all [such] records for phone number [redacted]-0335”) is hereby MODIFIED to request:

         7(a). From November 14, 2018, to November 16, 2018, all records for phone number
         [redacted]-0335 showing the date, time, and/or duration of any incoming voice calls; and

         7(b). From November 19, 2018, to November 26, 2018, all records for phone number
         [redacted]-0335 showing the date, time, and/or duration of any incoming voice calls.


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  See Fed. R. Civ. P. 26(c)(2)(C)(iii). As modified, this request seeks information that may show

  the fact and duration of phone calls Plaintiff claims he placed to Dr. Hsu’s current cell phone

  number while he was hospitalized at UVA Health System’s Unit 5 East in Charlottesville,

  Virginia and Poplar Springs Hospital in Petersburg, Virginia on these dates. This information

  arguably is relevant to the UVA Defendants’ stated reason(s) why a No Trespass Order was

  issued against Plaintiff in early January 2019. Cf. In re Verizon Wireless, 2019 WL 4415538, at

  *6.

         Verizon Wireless is directed to produce any responsive documents directly to counsel of

  record for Dr. Hsu. The parties are directed to confer and, within three (3) days from the date of

  this Order, to provide Dr. Hsu’s counsel of record all relevant phone numbers so he can review

  responsive documents for relevancy. See Order of Dec. 20, 2021, at 2. Dr. Hsu’s counsel shall

  have seven (7) days from the date he receives access to these documents to review them and

  produce any relevant information to counsel for Plaintiff and for the UVA Defendants. See id.

         IT IS SO ORDERED.

         The Clerk shall send a copy of this Order to the parties.

                                                       ENTER: June 21, 2022



                                                       Joel C. Hoppe
                                                       U.S. Magistrate Judge




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